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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                                      )
In re:                                                                ) Chapter 11
                                                                      )
CENTER CITY HEALTHCARE, LLC d/b/a                                     )
HAHNEMANN UNIVERSITY HOSPITAL, et al.,1                               ) Case No. 19-11466 (MFW)
                                                                      )
                                        Debtors.                      ) Jointly Administered
                                                                      )
                                                                      )

          CERTIFICATION OF COUNSEL REGARDING OMNIBUS HEARING DATES

               I, Mark Minuti, counsel to the above-captioned debtors (collectively, the “Debtors”),

  hereby certify, as follows:

               1.          Counsel to the Debtors received omnibus hearing dates from Judge Walrath’s

  courtroom deputy.

               2.          Enclosed herewith is a proposed Order that states with specificity the times and

  dates of the omnibus hearings presently scheduled, subject to Court approval.

               3.          The Debtors respectfully request that the Court enter the Order Scheduling

  Omnibus Hearing Dates.




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               The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
               are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
               Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA,
               L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center,
               L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics,
               L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS
               IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is 216 North Broad
               Street, 4th Floor, Philadelphia, Pennsylvania 19102.



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Dated: September 13, 2023                         SAUL EWING LLP

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                                                          -and-

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                                                  Counsel for Debtors and Debtors in Possession




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